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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 6
      DONALD E. MORISKY,
 7                                                       No. 2:21-CV-1301-RSM
 8                                 Plaintiff,
             v.                                          ORDER ADOPTING REPORT AND
 9                                                       RECOMMENDATION
      MMAS RESEARCH LLC, et al.,
10                         Defendants.
11

12          The Court, having reviewed the Report and Recommendation of Magistrate Judge David

13   W. Christel, objections to the Report and Recommendation, and the remaining record, does hereby

14   find and ORDER:
15
            (1)    The Court adopts the Report and Recommendation.
16
            (2)    Plaintiff Donald E. Morisky’s Motion for Case-Ending Sanctions Striking
17                 Defendants’ Answers and Entering Default (Dkt. #269) is denied.

18          (3)    The previously-imposed-sanctions remain in effect and this case will proceed
                   immediately to trial.
19

20          (4)    The Clerk is directed to send copies of this Order to Plaintiff, counsel for
                   Defendants, and to the Hon. David W. Christel.
21

22          DATED this     27th    day of June, 2025.
23

24

25
                                                  A
                                                  RICARDO S. MARTINEZ
                                                  UNITED STATES DISTRICT JUDGE
26


     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
